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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELBERT BROWN, et al.,

                Plaintiffs,

        v.                                              Civil Action No. 15-01380 (KBJ)

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                Defendant.


                                 NOTICE OF APPEARANCE

       The Clerk shall please enter the appearance of Assistant Attorney General Shani C. Brown

as counsel for defendant the District of Columbia.

Dated: April 8, 2019.                       Respectfully submitted,

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                                            Attorney General for the District of Columbia

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                                            Public Interest Division

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